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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



  JOHN DOE I, et al.,

                         Plaintiffs,                    Case No. 01-cv-01357-RCL

                    v.

  EXXON MOBIL CORPORATION, et al.,

                         Defendants.



            DEFENDANTS’ SUPPLEMENTAL NOTICE REGARDING
            PLAINTIFFS’ PENDING MOTION FOR LEAVE TO TAKE
                  DISCOVERY DEPOSITIONS REMOTELY

               Defendants Exxon Mobil Corporation and ExxonMobil Oil Indonesia Inc.

(“Exxon”) respectfully submit this Supplemental Notice:

               1.          In its Notice, Dkt. 716, Exxon informed the Court that Plaintiffs’

request for remote discovery depositions is now moot because Exxon consents to conduct

discovery depositions of Plaintiffs by remote means.

               2.          In their fifteen-page response, Dkt. 717, Plaintiffs do not contest

that Exxon has agreed to proceed with the discovery depositions using remote means—

effectively conceding that the issue is moot. Instead, Plaintiffs provide the Court with a

litany of grievances about a draft deposition protocol Exxon proposed.

               3.          At present, each party has provided the other party with a proposed

protocol for remote depositions—each clearly marked as a “Draft for Discussion.” As

these depositions will not occur for weeks, at least, sufficient time remains for the parties

to resolve their differences about how the remote depositions should be conducted.
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               4.      If the parties are unable to reach agreement, after good-faith

discussion, on an appropriate protocol for the discovery depositions, the parties will make

a timely application to this Court to resolve any ripe disputes that might remain.

               5.      At this time, however, there is no ripe dispute for the Court to

resolve as to the remote discovery depositions of Plaintiffs.




Washington, DC                            Respectfully submitted,
July 7, 2020



                                                   /s/ Alex Young K. Oh
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                                          and ExxonMobil Oil Indonesia Inc.




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                           CERTIFICATE OF SERVICE

               Pursuant to LCvR 5.3, I hereby certify that, on July 7, 2020, I caused to

be electronically filed a copy of the foregoing Defendants’ Supplemental Notice

Regarding Plaintiffs’ Pending Motion for Leave to Take Discovery Depositions

Remotely to the Court’s CM/ECF system, and service was effected electronically

pursuant to LCvR 5.4(d) to all counsel of record.


                                                /s/ Alex Young K. Oh
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